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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO


JOHN FASTRICH and UNIVERSAL                            CASE NO. 1:17-cv-00615-SJD
INVESTMENT SERVICES, INC.,

                                    Plaintiffs,

       vs.                                             JOINT MOTION TO SUSPEND THE
                                                       BRIEFING SCHEDULE FOR
GREAT AMERICAN FINANCIAL                               DEFENDANT’S MOTION TO
RESOURCES, INC.,                                       DISMISS

                                  Defendant.

       Plaintiffs, through undersigned counsel, and Defendant, through undersigned counsel,

respectfully ask the Court to suspend the briefing schedule on Defendant’s Motion to Dismiss.

[Doc. 17.] The parties reached a settlement in principle and wish to suspend the briefing on the

Motion to Dismiss as they finalize the details of the settlement.

       WHEREFORE, as set forth above, the Parties respectfully request that this Court suspend

the briefing schedule on Defendant’s Motion to Dismiss.
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Dated: May 11, 2018


 /s/ Brian P. Muething                     /s/ James P. Booker
                                           By: James P. Booker
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                                           Counsel for Plaintiffs
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                               CERTIFICATE OF SERVICE

       I hereby certify that on May 11, 2018 a copy of the foregoing Joint Motion to Suspend the
Briefing Schedule for Defendant’s Motion to Dismiss was served via the Court’s ECF system.



May 11, 2018                                /s/ James P. Booker______________
                                            James P. Booker (OBN 0090803)
                                            PEIFFER WOLF CARR & KANE,
                                            A Professional Law Corporation
